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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION




ARTHUR LEE MACK,                         :

         Plaintiff,                      :
vs.                                              CA 04-0813-BH-C
                                         :
JO ANNE B. BARNHART,
Commissioner of Social Security,         :

         Defendant.


                                                ORDER

         After due and proper consideration of all portions of this file deemed relevant to

the issues raised, and a de novo determination of those portions of the recommendation to

which objection is made, the recommendation of the Magistrate Judge made under 28

U.S.C. § 636(b)(l)(B) and dated August 12, 2005, is ADOPTED as the opinion of this

Court.

         DONE this 28th day of November, 2005.


                                                                       s/ W. B. Hand
                                                                  SENIOR DISTRICT JUDGE
